        Case 1:24-cr-00087-JSR Document 13 Filed 06/18/24 Page 1 of 7




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------ - ---------                X


UNITED STATES OF AMERICA
                                                          CONSENT PRELIMINARY ORDER
               -v. -                                      OF FORFEITURE/
                                                          MONEY JUDGMENT
LUIS ROBLES, a/k/a "Chubb",
                                                          24 Cr. 87 (JSR)
                       Defendant.

- ---------------------------------                 X


               WHEREAS, on or about February 16, 2024, LUIS ROBLES a/k/a "Chubb" (the

"Defendant"), was charged in a six-count Sealed Indictment, 24 Cr. 87 (JSR) (the "Indictment"),

with conspiracy to distribute narcotics in violation of Title 21 , United States Code, Section 846

(Count One); distribution of narcotics in violation of Title 21 , United States Code, Section 812,

84l(a)(l) and 84l(b)(l)(B), 84l(b)(l)(C) and Title 18, United States Code, Section 2 (Counts

Two, Three and Five); and firearms use, carrying, and possession in violation of Title 18, United

States Code, Section 924(c)(I0(A)(i) and 2 (Counts Four and Six);

               WHEREAS, the Indictment included a forfeiture allegation as to Counts One and

Two of the Indictment, seeking forfeiture to the United States, pursuant to Title 21, United States

Code, Section 853, of any and all property constituting, or derived from, any proceeds obtained,

directly or indirectly, as a result of the offenses charged in Counts One and Two of the Indictment,

and any and all property used, or intended to be used, in any manner or part, to commit, or to

facilitate the commission of, the offenses charged in Counts One and Two of the Indictment,

including but not limited to a sum of money in United States currency representing the amount of

proceeds traceable to the commission of the offense charged in Counts One and Two of the

Indictment;
       Case 1:24-cr-00087-JSR Document 13 Filed 06/18/24 Page 2 of 7




               WHEREAS, on or about March 1, 2023 , the Government obtained the following

from the Defendant in the Bronx, New York:

               a. One (1) Ruger 9mm semi-automatic handgun, serial number 308-05585;

               b. Three (3) Homady 9mm caliber bullets;

               c. Two (2) Federal 9mm caliber bullets;

               d. One (1) 9mm 15 round capacity magazine;

       WHEREAS , on or about March 7, 2023, the Government obtained the following from the

Defendant in the Bronx, New York:

               e. One (1) Tanfoglio 9mm semiautomatic handgun serial number 010440;

               f.   Three (3) Aguila 9mm caliber bullets;

               g. Two (2) Federal 9mm caliber bullets;

               h. One (1) 9mm 15 round capacity magazine;

       WHEREAS, on or about February 21 , 2024, the Government seized the following from the

Defendant's residence located in the Bronx, New York:

               1.   One (1) colt .38 caliber revolver, with serial number 705732;

               J.   Two (2) Winchester .38 caliber bullets;

               k. Three (3) Armscor USA .38 caliber bullets; and

               I.   $45 ,580 in United States currency

(a. through l, collectively, the " Specific Property");

               WHEREAS, on or about June 18, 2024, the Defendant pied guilty to Count One of

the Indictment, pursuant to a plea agreement with the Government, wherein the Defendant

admitted the forfeiture allegation with respect to Count One of the Indictment and agreed to forfeit

to the United States, pursuant to Title 21 , United States Code, Section 853 , (i) a sum of money
        Case 1:24-cr-00087-JSR Document 13 Filed 06/18/24 Page 3 of 7




equal to $56,810 in United States currency, representing proceeds traceable to the commission of

the offense charged in Count One of the Indictment; and (ii) all right, title and interest of the

Defendant in the Specific Property;

                WHEREAS, the Defendant consents to the entry of a money judgment in the

amount of $56,810 in United States currency, representing the amount of proceeds traceable to the

offense charged in Count One of the Indictment that the Defendant personally obtained;

                WHEREAS, the Defendant further consents to the forfeiture of all his right, title

and interest in the Specific Property, which constitutes proceeds of the offense charged in Count

One of the Indictment, or property used, or intended to be used, in any manner or part, to commit,

or to facilitate the commission of, the offense charged in Count One of the Indictment;

                WHEREAS, the Defendant admits that, as a result of acts and/or omissions of the

Defendant, the proceeds traceable to the offense charged in Count One of the Indictment cannot

be located upon the exercise of due diligence, with the exception of Specific Property; and

                WHEREAS, pursuant to Title 21 , United States Code, Section 853(g), and Rules

32.2(b)(3), and 32.2(b)(6) of the Federal Rules of Criminal Procedure, the Government is now

entitled, pending any assertion of third-party claims, to reduce the Specific Property to its

possession and to notify any and all persons who reasonably appear to be a potential claimant of

their interest herein;

                IT IS HEREBY STIPULATED AND AGREED, by and between the United States

of America, by its attorney Damian Williams, United States Attorney, Assistant United States

Attorney, Matthew J. King of counsel, and the Defendant, and his counsel, David Touger, Esq.,

that:
         Case 1:24-cr-00087-JSR Document 13 Filed 06/18/24 Page 4 of 7




                1.     As a result of the offense charged in Count One of the Indictment, to which

the Defendant pied guilty, a money judgment in the amount of $56,810 in United States currency

(the "Money Judgment"), representing the amount of proceeds traceable to the offense charged in

Count One of the Indictment that the defendant personally obtained, shall be entered against the

Defendant.

                2.     As a result of the offense charged in Count One of the Indictment, to which

the Defendant pied guilty, all of the Defendant' s right, title and interest in the Specific Property is

hereby forfeited to the United States for disposition in accordance with the law, subject to the

provisions of Title 21 , United States Code, Section 853 .

                3.      Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

Consent Preliminary Order of Forfeiture as to Specific Property/Money Judgment is final as to the

Defendant, LUIS ROBLES, and shall be deemed part of the sentence of the Defendant, and shall

be included in the judgment of conviction therewith.

                4.      All payments on the outstanding Money Judgment shall be made by postal

money order, bank or certified check, made payable to the United States Marshals Service, and

delivered by mail to the United States Attorney ' s Office, Southern District of New York, Attn:

Illicit Finance and Money Laundering Unit, 26 Federal Plaza, New York, New York 10278 and

shall indicate the Defendant's name and case number.

                5.      The United States Marshals Service is authorized to deposit the payments

on the Money Judgment in the Assets Forfeiture Fund, and the United States shall have clear title

to such forfeited property.
         Case 1:24-cr-00087-JSR Document 13 Filed 06/18/24 Page 5 of 7




                6.      Upon entry of this Consent Preliminary Order of Forfeiture as to Specific

Property/Money Judgment, the United States (or its designee) is hereby authorized to take

possession of the Specific Property and to hold such property in its secure custody and control.

                7.      Pursuant to Title 21 , United States Code, Section 853(n)(l), Rule 32.2(b)(6)

of the Federal Rules of Criminal Procedure, and Rules G(4)(a)(iv)(C) and G(5)(a)(ii) of the

Supplemental Rules for Certain Admiralty and Maritime Claims and Asset Forfeiture Actions, the

United States is permitted to publish forfeiture notices on the government internet site,

www.forfeiture.gov. This site incorporates the forfeiture notices that have been traditionally

published in newspapers. The United States forthwith shall publish the internet ad for at least thirty

(30) consecutive days. Any person, other than the Defendant, claiming interest in the Specific

Property must file a Petition within sixty (60) days from the first day of publication of the Notice

on this official government internet web site, or no later than thirty-five (35) days from the mailing

of actual notice, whichever is earlier.

                8.      The published notice of forfeiture shall state that the petition (i) shall be for

a hearing to adjudicate the validity of the petitioner' s alleged interest in the Specific Property, (ii)

shall be signed by the petitioner under penalty of perjury, and (iii) shall set forth the nature and

extent of the petitioner' s right, title or interest in the Specific Property, the time and circumstances

of the petitioner' s acquisition of the right, title and interest in the Specific Property, any additional

facts supporting the petitioner's claim, and the relief sought, pursuant to Title 21 , United States

Code, Section 853(n).

                9.      Pursuant to 32.2 (b)(6)(A) of the Federal Rules of Criminal Procedure, the

Government shall send notice to any person who reasonably appears to be a potential claimant

with standing to contest the forfeiture in the ancillary proceeding.
               Case 1:24-cr-00087-JSR Document 13 Filed 06/18/24 Page 6 of 7
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                      10.    Upon adjudication of all third-party interests, this Court will enter a Final

       Order of Forfeiture with respect to the Specific Property pursuant to Title 21, United States Code,

       Section 853(n), in which all interests will be addressed. All Specific Property forfeited to the

       United States under a Final Order of Forfeiture shall be applied towards the satisfaction of the

       Money Judgment.

                      11.    Pursuant to Title 21, United States Code, Section 853(p), the United States

       is authorized to seek forfeiture of substitute assets of the Defendant up to the uncollected amount

       of the Money Judgment.

                      12.    Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the

       United States Attorney's Office is authorized to conduct any discovery needed to identify, locate

       or dispose of forfeitable property, including depositions, interrogatories, requests for production

       of documents and the issuance of subpoenas.

                      13.     The Court shall retain jurisdiction to enforce this Consent Preliminary Order

       of Forfeiture as to Specific Property/Money Judgment, and to amend it as necessary, pursuant to

       Rule 32.2 of the Federal Rules of Criminal Procedure.




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             Case 1:24-cr-00087-JSR Document 13 Filed 06/18/24 Page 7 of 7
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                   14.    The signature page of this Consent Preliminary Order of Forfeiture as to

    Specific Property/Money Judgment may be executed in one or more counterparts, each of which

    will be deemed an original but all of which together will constitute one and the same instrument.

    AGREED AND CONSENTED TO:

    DAMIAN WILLIAMS
    United States Attorney for the
    Southern District of New York


    By:                                                                   June 18, 2024
                                                                       DATE
           Assistant United States Attorney
           26 Federal Plaza
           New York, NY 10007
           (212) 637-2384


    LUIS ROBLES


    By:
           LUIS ROBLES



    By:
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           D                                                           ~
           Pe1~~-rouger
           Attorney for Defendant
           70 Lafayette Street
           New York, NY 10013
           (212) 608-1234

    SO ORDERED:



    HON O L E JED s. RAO FF
    UNITED STATES DISTRICT JUDGE
